            Case 1:20-cv-00110-GNS Document 3 Filed 06/26/20 Page 1 of 2 PageID #: 11


$2 5HY 6XPPRQVLQD&LYLO$FWLRQ


                                      81,7(' 67$7(6 ',675,&7 &2857
                                                                   IRUWKH
                                                       :HVWHUQ 'LVWULFW RI .HQWXFN\
                                                    BBBBBBBBBB'LVWULFWRIBBBBBBBBBB




  67$7( )$50 ),5( $1' &$68$/7< &203$1<
         DV VXEURJHH RI 6KDURQ %HVVHWWH
                            Plaintiff(s)
                                 Y                                          &LYLO$FWLRQ1R FY*16
                    0255,6 %25'(56
                    %URZQVYLOOH 5RDG
                  6PLWKV *URYH .< 

                           Defendant(s)


                                                    6800216,1$&,9,/$&7,21

7R (Defendant’s name and address) 0RUULV %RUGHUV
                                            %URZQVYLOOH 5RDG
                                           6PLWKV *URYH .< 




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
3 D  RU  ²\RXPXVWVHUYHRQWKHSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQXQGHU5XOHRI
WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH
                                           -HIIUH\ ( +LDWW
                                           /RXLVYLOOH /DZ 3//&
                                            /LO\ &UHHN 5RDG 6XLWH 
                                           /RXLVYLOOH .< 
                                           -KLDWWODZ#JPDLOFRP

       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
<RXDOVRPXVWILOH\RXUDQVZHURUPRWLRQZLWKWKHFRXUW



                                                                               CLERK OF COURT


'DWH             
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              Case 1:20-cv-00110-GNS Document 3 Filed 06/26/20 Page 2 of 2 PageID #: 12


$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R FY*16

                                                     3522)2)6(59,&(
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU(name of individual and title, if any)     0RUULV %RUGHUV
 ZDVUHFHLYHGE\PHRQ (date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                 RQ (date)                             RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                  DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ (date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                       ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                 RQ (date)                             RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

           u 2WKHU (specify):
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           0\IHHVDUH                            IRUWUDYHODQG                  IRUVHUYLFHVIRUDWRWDORI                    


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                             Server’s signature

                                                                                             -HIIUH\ ( +LDWW
                                                                                         Printed name and title

                                                                                       /RXLVYLOOH /DZ 3//&
                                                                                   /LO\ &UHHN 5RDG 6XLWH 
                                                                                       /RXLVYLOOH .< 
                                                                                             Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
